        Case 2:10-cr-00217-RFB-BNW           Document 246     Filed 03/30/12     Page 1 of 2

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                                                                                   ) J 2512
                                                                        cLERK tI.
                                                                                s.DISTRIGTGOURT
 3                                                                         OISTRICT OFNEVADA
                                                                      BY                  DEPUW



 5

                              UNITED STATES DISTRICT COURT
                                       D IST RICT O F NEV A D A

     UNITED STATESOFAM ERICA,                      )
                                                   )
                         I'laintiff,               )
                                                   )
           v.                                      )          2:10-CR-217-PM P (PAL)
                                                   )
11 BOYAN GUEORGUIEVS                               )
                                                   )
                         D efendant.
13                                     ORDER O F FORFEITURE
          n is Courtfound on M arch 30,2012,thatBOYAN GUEORGUIEV shallpay a crim inal

     forfeituremoneyjudgmentof$1,072,297.64inUnited StatesCurrency,ptlrsuanttoFed.R.Crim.
     P.32.208(1)and(2))Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStates
     CodesSection2461(c);Title18,UnitedStatesCode,Section982(a)(2)(A);Title 18,UnitedStates
     Code,Sections 1343,2314,and 2315,specitied unlawfulactivitiesasdetined in Title 18,United

     StatesCode,Sections1956(c)(7)(A)and1961(1)(B);Title18,UnitedStatesCode,Section371;and
     Title21,United StatesCode,Section853419.
21        THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AN D DECREED thattheUnited

     Statesrecoverfrom BOYAN GUEORGUIEV acriminalforfeittlremoneyjudgmentintheamotmt
23   of$1,072,297.64inunitedStatesCurrencypursuanttoFed.R,Crim.P.32.2(b)(4)(A)and(B);Tit1e
     18,United StatesCode,Section 981(a)(1)(C)and Title28,United StatesCode,Section2461(c);
25 Title 18,United StatesCode,Section982(a)(2)(A);Title l8,United StatesCode,Sections1343,
     2314,and 2315,specified unlawfulactivitiesasdefined in Title 18,United StatesCode,Sections
       Case 2:10-cr-00217-RFB-BNW        Document 246     Filed 03/30/12   Page 2 of 2




 l 1956(c)(7)(A)and1961(1)(B);Title18,Unitedstatescode,Section371;arldrfitle21,UnitedStates
 2 Code,Section853û9.
 3       DATEDthisCtJL-dayof                          ,2012,
 4                                                                .

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